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 5
 6                          UNITED STATES DISTRICT COURT
 7                         WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE

 9
    UNITED STATES OF AMERICA, )
10                               )
                Plaintiff,       )                CASE NO.      MJ08-44
11                               )
           v.                    )
12                               )
                                 )                DETENTION ORDER
13 GURMIT SINGH JASSAL,          )
                                 )
14              Defendant.       )
   ______________________________)
15
     Offenses charged:
16
              Count I:      Possession with Intent to Distribute MDMA or Ecstasy, in violation
17
                            of Title 21, U.S.C, Sections 841(a)(1), 841(b)(1)(C) and Title 18,
18
                            U.S.C., Section 2.
19
              Count II:     Possession with Intent to Distribute Marijuana, in violation of Title
20
                            21, U.S.C., Sections 841(a)(1) and 841(b)(1)(D), Title 18, U.S.C.,
21
                            Section 2.
22
     Date of Detention Hearing: February 11, 2008.
23
              The Court, having conducted an uncontested detention hearing pursuant to Title
24
     18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
25
     detention hereafter set forth, finds that no condition or combination of conditions which the
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     DETENTION ORDER
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 1 defendant can meet will reasonably assure the appearance of the defendant as required and
 2 the safety of any other person and the community. The Government was represented by
 3 Roger Rogoff. The defendant was represented by Peter Mazzone.
 4           The Government argued for detention filed a Motion for Detention, to which the
 5 defendant stipulated.
 6       FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 7           (1)    There is probable cause to believe the defendant committed the
 8                  possession with intent to distribute drug offenses. The maximum penalty
 9                  is in excess of ten years. There is therefore a rebuttable presumption
10                  against the defendant’s release based upon both dangerousness and flight
11                  risk, under Title 18 U.S.C. § 3142(e).
12           (2)    Defendant is a citizen and national of Canada with strong family ties in
13                  India. He is therefore viewed as a risk of flight.
14           (3)    He has substance abuse problems, and is therefore viewed as a risk of
15                  danger, especially given of the nature of the alleged offense.
16           (4)    The defendant stipulates to detention at this time.
17 Based upon the foregoing information, it appears that there is no condition or
18 combination of conditions that would reasonably assure future Court appearances and/or
19 the safety of other persons or the community.
20           It is therefore ORDERED:
21           (l)    The defendant shall be detained pending trial and committed to the
22                  custody of the Attorney General for confinement in a correction facility
23                  separate, to the extent practicable, from persons awaiting or serving
24                  sentences or being held in custody pending appeal;
25           (2)    The defendant shall be afforded reasonable opportunity for private
26                  consultation with counsel;

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 1         (3)   On order of a court of the United States or on request of an attorney for
 2               the Government, the person in charge of the corrections facility in which
 3               the defendant is confined shall deliver the defendant to a United States
 4               Marshal for the purpose of an appearance in connection with a court
 5               proceeding; and
 6         (4)   The clerk shall direct copies of this order to counsel for the United
 7               States, to counsel for the defendant, to the United States Marshal, and to
 8               the United States Pretrial Services Officer.
 9         DATED this 13th day of February, 2008.
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                                                    MONICA J. BENTON
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                                                    United States Magistrate Judge
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     DETENTION ORDER
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